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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION
                                      www.flmb.uscourts.gov

IN RE:                                            Case No. 8:19-bk-00252-MGW
Michael J. Yadron                                 Chapter 7

        Debtor.                               /

        SECURED CREDITOR’S AMENDED RESPONSE TO TRUSTEE’S
   MOTION TO SELL REAL PROPERTY AND PAY SECURED CREDITOR(S) AND
                         TRANSACTIONAL COSTS
             RE: 1070 Misty Hollow Lane, Tarpon Springs, FL 34688

        Comes now, Quicken Loans Inc., (“Quicken”) by and through its undersigned attorney,

and hereby files this Response to Trustee’s Motion to Sell Real Property and Pay Secured

Creditor(s) and Transactional Costs [DE 27] filed on May 31, 2019 (the “Motion”) and, in

support, states as follows:

         1.     Pursuant to the Motion to Sell, the Trustee seeks entry of an order authoring a sale

in the amount of $320,000.00 of the estate’s right, title and interest in the real property located at

1070 Misty Hollow Lane, Tarpon Springs, FL 34688, subject to all liens, encumbrances and

interests.

         2.     The Property is encumbered by a first mortgage held by Quicken Loans Inc.

         3.     Quicken does not oppose the relief requested in Trustee’s Motion to Sell Real

Property and Pay Secured Creditor(s) and Transactional Costs, but requests that requests the

following provisions be included in any order granting the Motion:

                a. That Quicken will either be paid in full subject to a proper payoff quote or that

                    any sale short of full payoff will be subject to Quicken’s final approval; and

                b. That the closing be completed within 120 days of entry of an order granting

                    the Motion.
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       Wherefore, Quicken Loans Inc. prays that this Honorable Court grant the Trustee’s

Motion to Sell Real Property and Pay Secured Creditor(s) and Transactional Costs with the

provisions that Quicken will either be paid in full subject to a proper payoff quote, or that any

sale short of full payoff will be subject to Quicken’s final approval and requires closing to be

completed within 120 days of entry of an order granting the Motion or for any other relief the

Court deems just and proper.



                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Response to Trustee’s

Motion to Sell Real Property and Pay Secured Creditor(s) and Transactional Costs was furnished

via First Class U.S. Mail or via CM/ECF electronic filing on this 17th day of June, 2019, to the

following:

Michael J Yadron, 1709 East Centeron Boulevard, #311, Centerton, AR 72719
Jay M. Weller, 25400 US Highway 19 North, Suite 215, Clearwater, FL 33763
Stephen L. Meininger, 707 North Franklin Street, Suite 850, Tampa, FL 33602
Richard M Dauval, 3900 First Street North, Suite 100, St. Petersburg, FL 33703
United States Trustee, 501 E. Polk Street, Suite 1200, Tampa, FL 33602

                                             /s/Elizabeth Eckhart
                                             Elizabeth Eckhart
                                             FL Bar # 0048958
                                             Shapiro, Fishman & Gaché, LLP
                                             Attorney for Secured Creditor
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